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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

ALABAMA ASSOCIATION OF
REALTORS®, et al.,

                 Plaintiffs,
         v.                                                  No. 1:20-cv-03377-DLF

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

                  Defendants.



                         NOTICE OF SUPPLEMENTAL AUTHORITY

        Plaintiffs respectfully notify the Court that on February 25, 2021, a district court in the Eastern

District of Texas entered the attached opinion and judgment declaring that the CDC Eviction

Moratorium at issue in this case violates the Commerce Clause of the United States Constitution. See

Ex. A, Opinion and Order, Dkt. 45, Terkel, et al. v. Centers for Disease Control and Prevention, et al., No.

6:20-cv-00564 (E.D. Tex. Feb. 25, 2021); Ex. B., Judgment, Dkt. 46, Terkel, No. 6:20-cv-00564 (E.D.

Tex. Feb. 25, 2021).
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Dated: February 26, 2021             Respectfully submitted,



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